                                                    U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007



                                                    April 23, 2021

Via ECF
The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

              Re:     United States v. Geovanny Fuentes Ramirez, S6 15 Cr. 379 (PKC)

Dear Judge Castel:

        On March 22, 2021, following trial, Geovanny Fuentes Ramirez (the “defendant”) was
convicted of all three counts in the above-referenced Indictment. On March 25, 2021, the Court
granted the defendant’s motion to extend the time within which to file any post-trial motions to
April 23, 2021. (See ECF No. 277). Today, on April 23, the defendant filed motions seeking to
set aside the verdict or for a new trial. (See ECF No. 316). The Government respectfully requests
until May 21, 2021 to file its response to the defendant’s post-trial motions.


                                                          Respectfully submitted,

                                                          AUDREY STRAUSS
                                                          United States Attorney

                                                    By:       /s/
                                                          Jacob Gutwillig
                                                          ________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ___ ________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ _




                                                          Michael D. Lockard
                                                          Jason A. Richman
                                                          Elinor Tarlow
                                                          Assistant United States Attorneys
                                                          (212) 637-2215 / 2193 / 2589 / 1036

Cc:    Defense Counsel
       (Via ECF)
